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14

15                             UNITED STATES DISTRICT COURT

16                            NORTHERN DISTRICT OF CALIFORNIA

17                              SAN FRANCISCO COURTHOUSE

18 MASTEROBJECTS, INC.,                            Case No. 3:20-cv-08103-WHA

19               Plaintiff,                        Judge William H. Alsup
                                                   Courtroom: 12
20         vs.
                                                   DEFENDANT AMAZON.COM, INC.’S
21 AMAZON.COM, INC.,                               RESPONSE TO ORDER DATED
                                                   FEBRUARY 8, 2022, DKT. NO. 255
22               Defendant.

23                                                 Complaint Filed: May 5, 2020
                                                   Trial Date: May 9, 2022
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                                                                     Case No. 3:20-cv-08103-WHA
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 1             The pre-2011 claims of the ’529 Patent “explicitly require[] a second server-side source of

 2 information.” Dkt. No. 255. Those claims are directed to a system that can access both a content

 3 source and a cache to gather responses to user queries. This is consistent for all three MasterObjects

 4 patents filed before 2011, none of which is asserted in this case. In contrast, MasterObjects asserts

 5 that the three later-filed Patents-in-Suit require only a cache, and do not require that the system also

 6 be able to access a separate content source to gather responses to queries. Dkt. No. 236 at 25. 1

 7             The original ’529 Patent (Dkt. No. 252-26) described a database search-and-retrieval system,

 8 with caching as an optimization. As described therein, when a query to a database occurred, the

 9 system would both: (1) perform that query against the database and return the results to the requesting

10 user; and (2) “cache” (make a copy of) the results of the query, so that future queries would not need

11 to go to the database and could instead be served from the cache. If the results in the cache expired,

12 queries would again be directed to the database. The invention thus worked with both the underlying

13 database and the cache to gather results in response to user queries. The cache never worked alone. 2

14             The claims of the ’529 Patent are consistent with the specification. As originally filed, Claim

15 1 claimed a system that retrieves information from a “content engine”—the underlying content

16 database. See 8/20/2001 ’529 App. (reciting “allow[ing] [a] client system to query [a] server system

17 for content” and “a plurality of queries to retrieve content from said content engine”). Dependent

18 Claim 5, in turn, added the cache, claiming that the system “stores previously used strings and returns

19 said stored strings to the client in response to new client queries, without accessing said content

20 engine.” Id. MasterObjects argues that original Claim 5 “cover[s] a system with just one step—

21 hitting a cache alone.” Dkt. No. 246 at 2. But MasterObjects ignores that Claim 5 was a dependent

22 claim, depending on a claim that required an underlying content source (Claim 1). Of course, by

23 adding the “cache” concept for “new” queries, dependent Claim 5 did not remove the underlying

24 “content engine” from independent Claim 1. Original Claim 5 thus described, consistent with the

25 specification, a system that had access to—and worked with—both a content source and a cache as

26 sources for query responses. Put another way, the number of “steps” recited in Claim 5 is irrelevant,

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28   1   A graphic depicting the relevant patent family can be found at Dkt. 143 at 8.
     2   This point is addressed at length in Amazon’s claim construction brief. See Dkt. No. 252 at 10-17.
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 1 because the components of the claimed system included a cache and content source.

 2             MasterObjects next points to Claim 30 of the December 21, 2005 version of the ’529 Patent

 3 claims. But Claim 30 was another dependent claim, depending on independent Claim 21, which was

 4 directed to “[a] system for … delivery of content from a string-based content engine to a client.”

 5 Id. (emphasis added). 12/21/2005 ’529 App. Like original Claim 5, Claim 30 added a cache to a

 6 system that already included a content engine. Indeed, Claim 30 itself states that an access to the

 7 content engine can only be avoided if the cached content has not expired. Id. (“wherein the server

 8 object … returns cached content to the client without accessing said content engine, unless the cached

 9 content has expired since it was last received from said content engine.”). Claim 30 is thus directed

10 to a system that can access a content engine and a cache to service query responses.

11             The same is true for the October 31, 2007 versions of Claims 42 and 60. Both depend from

12 claims that require retrieving content from the server system. 10/31/2007 ’529 App. at Claim 1

13 (“wherein the server object … quer[ies] and retrieve[s] content information from the server system”),

14 Claim 54 (“wherein the server object … quer[ies] data from one or more content sources”).

15             Finally, MasterObjects points to Claim 1 of the ’529 Patent, as issued. To overcome an

16 obviousness rejection, that claim was amended to bring the “cache” into the independent claim. See

17 9/30/2010 ’529 App. (“Claim 1 has been amended to further recite that … the system includes a

18 content-based cache ….”). That claim, like the others, thus recites a system that can acquire

19 information from both a cache and an underlying content source: “wherein the server object …

20 quer[ies] and retrieve[s] content information from the content-based cache at the server system or

21 from the one or more content sources ….” Dkt. No. 252-26 at Claim 1. MasterObjects argues that

22 this claim does not require “a two-step process.” Dkt. No. 246 at 2. That is not the point. This claim

23 requires a server that queries either a cache or a content source, and thus has access to both.

24 MasterObjects’ inventor                                                 . See 5/24/2012 Smit Tr. at

25 148:24-150:3 (“

26                                                                                           ”). Indeed,

27 the claimed “content-based cache” is built by the claimed system’s accesses to the content source.

28 Dkt. No. 252-26 at Claim 1; see also MasterObjects, Inc. v. Yahoo! Inc., Case No. 11-2539, Dkt. No.

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 1 40 at 9 (N.D. Cal. June 5, 2012) (MasterObjects explaining “content source” as “where the search

 2 results come from” and “cache” as “where search results are stored for instant retrieval”).

 3             Claim 1 of the issued ’529 Patent is thus similar to the claims of the ’326 Patent, over which

 4 MasterObjects sued Amazon in 2011. Claim 1 of the ’326 Patent, for example, claims a server that:

 5                  matches the … query string both initially by matching the query string against
                    the previously determined results stored in the unified query cache at the
 6                  server, and subsequently, if no matching cache entry was found, by matching
                    the query string against the content sources as retrieved by the server….
 7
     Dkt. No. 252-28. The only other pre-2011 patent, U.S. Patent No. 8,060,639 (the “’639 Patent”), is
 8
     similar. Claim 1 of that patent, as filed on July 2, 2010, claimed a server that:
 9
                    automatically matches the increasingly focused query string initially by
10                  matching the query string against the contents of the query and result cache,
                    and subsequently by matching the query string against other content available
11                  to the server….

12 7/2/2010 ’39 Application. It issued with substantially the same language.

13             Contrary to MasterObjects’ claim, the ’326 Patent was not the “outlier.” The ’529 Patent, the

14 ’326 Patent, and the ’639 Patent, all of which had claims that were filed before 2011, consistently

15 claimed a system that could access both a cache and an underlying content source for query results.

16 In stark contrast, original Claim 1 of the ’866 Patent, filed on December 22, 2016, removed any

17 reference to a content source other than the cache:

18             1. A method, comprising:
                   automatically detecting, on a client computer, modification by a user of a search
19             query in an entry field;
                   sending a request message containing the string representing the incomplete
20             version of the search query to a server system comprising one or more computers,
                   receiving, by the server system, the string;
21                 matching, by the server system, the string to entries in a cache of queries and
               search results based on earlier search queries received from a plurality of users;
22                 retrieving, by the server system, data indicative of the search results matching
               the incomplete search query;
23                 asynchronously sending, by the server system to the client computer a message
               containing at least a portion of the data indicative of the search results;
24                 receiving, on the client computer, the message, and
                   displaying at least a portion of the data indicative of the search results on the
25             client computer.

26 12/22/2016 ’866 Application.

27             There is a reason that MasterObjects has not asserted any of the pre-2011 patents against

28 Amazon: it improperly attempted to tailor its post-2011 patents for this litigation.

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 1 Dated: February 11, 2022             HUESTON HENNIGAN LLP

 2

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